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AO 450 (SCD 04/2010) Judgment in a Civil Action


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                        District of South Carolina

                  Darrell Wayne Samuel,                        )
                           Appellant
                                                               )
                         v.
                                                               )            Civil Action No.       1:15-cv-04976-CMC-SVH
  Roger D. Haagenson; Facundo Bacardi; Sherry L.
                                                               )
  Haagenson, as Trustee of the Bacardi Foundation,
                           Appellees                           )
                                                  JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):
’ the appellant (name)                    recover from the appellee (name)               the amount of                 dollars ($   ),
which includes prejudgment interest at the rate of            %, plus postjudgment interest at the rate of          %, along with
costs.
’ the appellant recover nothing, the action be dismissed on the merits, and the appellee (name)
recover costs from the plaintiff (name)                              .
O the appellant, Darrell Wayne Samuel, shall take nothing of the appelles, Roger D. Haagenson; Facundo Bacardi;
Sherry L. Haagenson, and this action is dismissed without prejudice.

This action was (check one):
’ tried by a jury, the Honorable                            presiding, and the jury has rendered a verdict.

’ tried by the Honorable                          presiding, without a jury and the above decision was reached.

O decided by the Court, the Honorable Margaret B. Seymour, Senior United States District Judge, presiding,
dismissing the action without prejudice for failure to prosecute pursuant to Rule 41(b).

Date: September 14, 2016                                                   ROBIN L. BLUME, CLERK OF COURT


                                                                                                 s/M. Walker
                                                                                        Signature of Clerk or Deputy Clerk
